(Page 333   of   364)




                        Case 3:21-cv-00008-HRH Document
                                                 EXHIBIT32-2
                                                          A Filed 06/22/21 Page 1 of 9
                                                 Page 1 of 9
(Page 334   of   364)




                        Case 3:21-cv-00008-HRH Document
                                                 EXHIBIT32-2
                                                          A Filed 06/22/21 Page 2 of 9
                                                 Page 2 of 9
(Page 335   of   364)




                        Case 3:21-cv-00008-HRH Document
                                                 EXHIBIT32-2
                                                          A Filed 06/22/21 Page 3 of 9
                                                 Page 3 of 9
(Page 336   of   364)




                        Case 3:21-cv-00008-HRH Document
                                                 EXHIBIT32-2
                                                          A Filed 06/22/21 Page 4 of 9
                                                 Page 4 of 9
(Page 337   of   364)




                        Case 3:21-cv-00008-HRH Document
                                                 EXHIBIT32-2
                                                          A Filed 06/22/21 Page 5 of 9
                                                 Page 5 of 9
(Page 338   of   364)




                        Case 3:21-cv-00008-HRH Document
                                                 EXHIBIT32-2
                                                          A Filed 06/22/21 Page 6 of 9
                                                 Page 6 of 9
(Page 339   of   364)




                        Case 3:21-cv-00008-HRH Document
                                                 EXHIBIT32-2
                                                          A Filed 06/22/21 Page 7 of 9
                                                 Page 7 of 9
(Page 340   of   364)




                        Case 3:21-cv-00008-HRH Document
                                                 EXHIBIT32-2
                                                          A Filed 06/22/21 Page 8 of 9
                                                 Page 8 of 9
(Page 341   of   364)




                        Case 3:21-cv-00008-HRH Document
                                                 EXHIBIT32-2
                                                          A Filed 06/22/21 Page 9 of 9
                                                 Page 9 of 9
